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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                    Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                Defendant.


                     GOVERNMENT’S MOTION FOR AN ORDER TO
                        SHOW CAUSE AND FOR A HEARING

       The United States of America, by and through Jessie Liu, United States Attorney for the

District of Columbia, hereby files this Motion for an Order to Show Cause why, in light of the

defendant’s recent social media postings, the Court should not modify the conditions of release or

otherwise modify the media contact order in this case. On or about June 18 and 19, 2019, the

defendant posted to Instagram and Facebook, commenting about this case and inviting news

organizations to cover the issue. This is a violation of the current conditions of release, and the

government accordingly calls it to the Court’s attention.

                                        BACKGROUND

   1. The Court’s First Media Contact Order

       On January 24, 2019, the grand jury charged defendant Roger J. Stone, Jr. with obstructing

a congressional investigation in violation of 18 U.S.C. § 1505 (count 1); making numerous false

statements to Congress in violation of 18 U.S.C. § 1001(a)(2) (counts 2-6); and witness tampering

in violation of 18 U.S.C. § 1512(b)(1) (count 7). Doc. 1.

       During a February 1, 2019 status conference, the Court invited the parties’ views on

whether it should enter an order under Local Criminal Rule 57.7(c) to “refrain from making further

statements to the media or in public settings that are substantially likely to have a materially
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prejudicial effect on the case.” Feb. 1, 2019 Tr. at 17:16-19. Stone filed a response opposing “any

order” under Rule 57.7(c). Doc. 28, at 1. The government filed a response stating that it did not

oppose a narrowly-tailored order restricting extrajudicial statements that are substantially “likely

to interfere with the rights of the accused to a fair trial by an impartial jury.” Doc. 29, at 1 (citing

Rule 57.7(c)).

       On February 15, 2019, the Court issued an order prohibiting counsel for the parties and the

witnesses from making statements that “pose a substantial likelihood of material prejudice to this

case.” Doc. 36, at 3. The Court also ordered all participants, including the parties, to refrain from

making statements in the immediate vicinity of the courthouse that “pose a substantial likelihood

of material prejudice to this case or are intended to influence any juror, potential juror, judge,

witness or court officer or interfere with the administration of justice.” Id. at 3-4.

   2. The Court’s Amended Media Contact Order

       Three days later, Stone (working with others) posted a photograph of the Judge in this case

on Instagram with a crosshair in the corner of the image. Feb. 21, 2019 Tr. at 46:2-16. When the

matter received substantial public attention, Stone filed a “Notice of Apology” for “the improper

photograph and comment posted on Instagram today.” Doc. 38, at 1. The Court scheduled a

hearing and ordered Stone to show cause why the media contact order and/or conditions of release

should not be modified or revoked in light of the post. Minute Order, Feb. 19, 2019. At the

hearing, Stone claimed that the posted image had a “Celtic occult symbol” (not a crosshair), but

also testified he did not know what the “symbol” represented because he is “not into the occult.”

Tr. 17:13-14. Stone testified that one of “a few volunteers” sent him the image, but he could not

identify the volunteer, Tr. 22:3-23:4, or even who had access to his phone at the time the

photograph was posted, Tr. 25:22-26:1; 33:11-33:16. The Court found Stone’s “evolving and


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contradictory” testimony not credible. Tr. 45:14-15.

       The Court then asked counsel for the defendant how to craft an order that would be “clear”

to Stone. Counsel responded: “It can be done by refining what -- he should not be talking about

this Court. He should not be talking about the special prosecutor. He should not be impugning

the integrity of the Court. That’s what should be done.” Tr. 41:19-23. Counsel continued:

                If Your Honor is asking me to craft an order, then that is what the order
                should say: This Court should not be criticized by Mr. Stone. The
                government should not be impugned by Mr. Stone. The integrity of this
                case should not be impugned by Mr. Stone. We will defend this case at the
                trial. That's the time to defend this case. And that is the kind of nature of
                an order that I would suggest the Court should craft that would address the
                specific needs that we're talking about.

Tr. 42:15-23.

       After considering the facts and arguments presented by the parties, the Court entered a

further media contact order. The Court observed that Stone had been charged not only with lying

to Congress but also with witness tampering, and that “the evidence detailed in the indictment

alone is quite compelling.” Tr. 44:15-21. The Court found that Stone “has not been chastened by

the pendency of those charges, and that in connection with this matter, he has decided to pursue a

strategy of attacking others.” Tr. 44:22-25. The Court expressed concern that Stone’s statements

of this sort “can incite others” and can “frustrate” the paramount goal of ensuring “a fair trial by

an impartial jury.” Tr. 45:7-11, 48:14-25, 49:1-6. The Court noted its responsibility to “ensure

that the trial does not devolve into a circus” and stated that Stone’s “fanning the flames” would

only exacerbate the problems that can arise in cases that generate significant publicity. Tr. 49:1-

20.   The Court accordingly prohibited Stone from:

                making statements to the media or in public settings about the Special
                Counsel’s investigation or this case or any of the participants in the
                investigation or the case. The prohibition includes, but is not limited to,
                statements made about the case through the following means: radio

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                   broadcasts; interviews on television, on the radio, with print reporters, or on
                   internet based media; press releases or press conferences; blogs or letters to
                   the editor; and posts on Facebook, Twitter, Instagram, or any other form of
                   social media.

Minute Order, Feb. 21, 2019.

    3. The Defendant’s June 18 and 19, 2019 Instagram Postings.

        In the past several days, Stone posted statements on social media about this case and the

Special Counsel’s investigation and appears to have specifically targeted those posts at major

media outlets. 1

        On June 18, 2019, Stone posted a screenshot of an article about one of his recent filings in

this case. The screenshot read: “US Govt’s Entire Russia-DNC Hacking Narrative Based on

Redacted Draft of CrowdStrike Report.” Ex. 1. He tagged the post, “But where is the @NYTimes?

@washingtonpost? @WSJ? @CNN?” Id. Later that day, Stone posted a screenshot of another

piece about his filing with the title, “FBI Never Saw CrowdStrike Unredacted Final Report on

Alleged Russian Hacking Because None was Produced.” Ex. 2. Next, Stone posted an article

titled, “Stone defense team exposes the ‘intelligence community’s’ [sic] betrayal of their



        1
          These posts are not the first statements that appear to have run afoul of the Court’s order.
See, e.g., Ex. 5 (Instagram Posting of April 4, 2019, stating “FBI Refuses Records Request for
Emails to CNN on Day of Roger Stone Raid,” with the tag, “How curious? What could they
possibly be hiding?”); Ex. 6 (Instagram Posting of May 8, 2019, with the headline “Judge demands
unredacted Mueller report in Roger Stone case,” with the comment, “The Judge has ruled but
@Politico gets most of the story wrong because they are biased elitist snot-nosed fake news
[expletive] who’s [sic] specialty is distortion by omitting key facts to create a false narrative.”);
Ex. 7 (Instagram Posting of May 16, 2019, with headline, “Roger Stone Swings For the Fences;
Court Filing Challenges Russiagate’s Original Premise,” with the comment, “My attorneys
challenged the entire “Russia hacked the DNC/CrowdStrike” claim by the Special Counsel in
public court filings[.]”); Ex. 8 (Instagram Posting of June 2, 2019, picturing a former CIA Director
and writing, “This psycho must be charged, tried, convicted . . . . and hung for treason.”) (ellipses
in original) (subsequently deleted). The government is bringing this matter to the Court’s attention
now because Stone’s most recent posts represent a direct attempt to appeal to major media outlets
to publish information that is not relevant to, but may prejudice, this case.

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responsibilities.” Ex. 3. The text further stated, “As the Russia Hoax is being unwound, we are

learning some deeply disturbing lessons about the level of corruption at the top levels of the

agencies charged with protecting us from external threats. One Jaw-dropping example has just

been exposed by the legal team defending Roger Stone.” Id. Stone tagged the article, “Funny ,

No @nytimes or @washingtonpost coverage of this development.”

        On June 19, 2019, Stone posted a screenshot of an article with the title, “FBI Never Saw

CrowdStrike Unredacted or Final Report on Alleged Russian Hacking Because None Was

Produced.” Ex. 4. He tagged the post, “The truth is slowly emerging. #NoCollusion.” Id. 2

                                          ARGUMENT

        Stone’s posts violate this Court’s order that Stone not comment “in the media or in public

settings about the Special Counsel’s investigation or this case or any of the participants in the

investigation or the case,” including via “Instagram.” Minute Order, Feb. 21, 2019. Stone placed

the June 18 and June 19 posts on a social media platform specifically identified in the Court’s

order, Instagram. The posts refer to Stone’s filings in this case and they target the investigation

that was conducted by the Special Counsel and FBI of Russian interference in the 2016

presidential election. The posts, moreover, tag major media outlets, effectively calling on those

outlets to cover Stone’s allegations.      See, e.g. Ex. 2 (“But where is the @NYTimes?

@washingtonpost? @WSJ? @CNN?”); Ex. 3 (“Funny, No @nytimes or @washingtonpost

coverage of this development.”). This is the sort of “strategy of attacking others” that the Court

noted at the February 21 hearing. Tr. 44:22-25. And it is exactly the kind of “fanning of the

flames” that the Court warned could “incite others” or impair “a fair trial by an impartial jury.”



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            The defendant also posted copies of many of these screenshots on his public Facebook
page.

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See Tr. 48-50.

       What’s more, Stone’s posts appear calculated to generate media coverage of information

that is not relevant to this case but that could prejudice potential jurors. They relate to Stone’s

claims—made in both filings before the Court and in public settings—that Russia did not hack

the DNC servers, that the FBI and intelligence community were negligent in investigating Russian

interference in the 2016 presidential election, that the government improperly “targeted” Stone

and others, and that the entire investigation was somehow invalid and any crimes flowing from it

(including Stone’s witness tampering and lies to Congress) were justified. 3 If those theories were

relevant to this case (which they are not), public statements aimed at the media and meant to

bolster the claims would risk prejudicing the jury pool. But these posts are arguably even worse,

because they risk tainting the jury pool with information that is not relevant but that may appear,

to some, to be relevant. At best, Stone’s efforts could create the misimpression that this case is

about issues that are not charged in the Indictment, and risk the trial “devolv[ing] into a circus”

(Tr. 49:19-20). But worse, it could confuse prospective jurors or color how they later view the

actually-relevant evidence and understand the Court’s instructions about that evidence.

       Criminal trials “are not like elections, to be won through the use of the meeting-hall, the

radio, and the newspaper.” Sheppard v. Maxwell, 384 U.S. 333, 350 (1966) (quotation marks

omitted). Courts must be careful to prevent a “carnival atmosphere at trial” and to ensure that

participants in the case do not release “leads, information, and gossip” that could fuel “rumors

and confusion.” Id. at 358-359, 361. “The outcome of a criminal trial is to be decided by impartial

jurors, who know as little as possible of the case, based on material admitted into evidence before



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        The government intends to file a motion in limine on this subject by the deadline set by
the Court’s scheduling order.

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them in a court proceeding.” Gentile v. State Bar of Nevada, 501 U.S. 1030, 1070 (1991).

Statements like Stone’s “threaten to undermine this basic tenet.” Id. A critical way to address

these concerns is through the use of “remedial measures that will prevent the prejudice at its

inception.” Sheppard, 384 U.S. at 363. This Court has now entered two orders aimed at doing

exactly that. But Stone nonetheless continues to fan the flames. The government accordingly

requests that the Court order Stone to show cause why his conditions of release should not be

modified to prevent further actions that risk prejudice to these proceedings or why the media

contact order should not be further modified.

                                        CONCLUSION

       For the reasons set forth above, the government respectfully requests that this Court

schedule a hearing to show cause why the defendant’s conditions of release should not be modified.


                                                    Respectfully submitted,

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